                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )              No. 3:08-CR-046
                                                   )              (PHILLIPS/SHIRLEY)
 KATRINA SOUTO,                                    )
                                                   )
                       Defendant.                  )

                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case came before the Court for a motion hearing on April 21,

 2009. Attorney Boyd Venable was present representing Defendant Katrina Souto, who was also

 present. Assistant United States Attorney Tracee Plowell was present representing the Government.

                Attorney Venable filed a Motion to Withdraw [Doc. 141] in this case on April 14,

 2009. In his motion, Attorney Venable states that his application for employment at a federal

 agency has been accepted, and his employment at that agency will commence on April 27, 2009.

 Thus, he will no longer maintain a private legal practice, and he seeks to withdraw as counsel for

 Defendant Souto. At the hearing, the Defendant confirmed that she understood that Attorney

 Venable sought to withdraw and stated that she had no objection to his withdrawal. The

 Government stated that it had no objection to the Motion to Withdraw.

                The Court finds that Attorney Venable’s employment with a federal agency creates

 a serious potential conflict with his continued representation of the Defendant. Because of this

 potential conflict, the Court finds the Motion to Withdraw [Doc. 141] to be well-taken, the same is




Case 3:08-cr-00046-TWP-CCS           Document 147         Filed 04/22/09      Page 1 of 2      PageID
                                           #: 507
 GRANTED, and Attorney Venable is relieved as counsel for the Defendant. See Wheat v. United

 States, 486 U.S. 153, 160 (1988) (holding that a court may disqualify the defendant’s counsel, even

 when the defendant offers to waive any conflict, because of its independent interest in assuring the

 ethical standards of the profession and the appearance of fairness to those observing legal

 proceedings); Glasser v. United States, 315 U.S. 60, 70 (1942) (holding that the Sixth Amendment

 right to counsel encompasses the right to have an attorney without a conflict), superseded by rule

 on another issue Bourjaily v. U.S., 483 U.S. 171, 181 (1987).

                Attorney Wayne Stanbaugh was present at the hearing and stated that he was willing

 to be appointed as counsel for Defendant Souto in this case. Defendant Souto stated that she had

 no objection to Attorney Stanbaugh’s appointment. Accordingly, the Court hereby SUBSTITUTES

 and APPOINTS Attorney Wayne Stanbaugh under the Civil Justice Act (CJA) as counsel of record

 for Defendant Katrina Souto.

                IT IS SO ORDERED.

                                                      ENTER:


                                                        s/ C. Clifford Shirley, Jr.
                                                      United States Magistrate Judge




                                                  2


Case 3:08-cr-00046-TWP-CCS           Document 147         Filed 04/22/09     Page 2 of 2      PageID
                                           #: 508
